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 1                               UNITED STATES DISTRICT COURT
 2                                    DISTRICT OF NEVADA
 3                                             ***
 4
      UNITED STATES OF AMERICA,
 5                                                   2:06-cr-00210-LDG-LRL
                    Plaintiff,
 6
      vs.                                                             ORDER
 7
      SHERRIE SHUTT,
 8
                    Defendant.
 9
10                Based on the pending Stipulation of counsel, and good cause appearing,

11                IT IS THEREFORE ORDERED that the revocation hearing in this matter currently

12   scheduled for May 11, 2011 at 1:00 p.m., be vacated and continued
                                                             advancedtoto:
                                                                        ____________________.m.
                                                                           THURSDAY, 5/5/11

13   AT THE HOUR OF 11:00 am
               DATED       dayinofLV courtroom
                                   May, 2011. 6B.

14
      Dated this ____ day of May, 2011.
15
16                                             _______________________________
                                               UNITED STATES DISTRICT JUDGE
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